        CASE 0:20-cv-01906-WMW-KMM Doc. 56 Filed 07/20/21 Page 1 of 2




                     UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
                   MOTION FOR ADMISSION PRO HAC VICE

              20-cv-1906
Case Number: ____________________
             CLEVELAND v. WHIRLPOOL CORPORATION
Case Title: ________________________________________


                                      Affidavit of Movant

     Michelle Looby
I, ____________________________,       an active member in good standing of the bar of the U.S.
District Court for the District of Minnesota, request that this Court admit pro hac vice
    Erin J. Ruben
_________________________________,         an attorney admitted to practice and currently in good
standing in the U.S. District Court for (please identify ONE specific district to which the
                          North Carolina
attorney is admitted) _________________________________,        but not admitted to the bar of this
court, who will be counsel for the X plaintiff                Elisabeth Cleveland
                                                   defendant _____________________________
in the case listed above.

I am aware that the local rules of this court require that an active Minnesota resident, unless the
court grants a motion for a non-Minnesota resident to serve as local counsel, who is a member in
good standing of the bar of this court participate in the preparation and presentation of the case
listed above, and accept service of all papers served.

Check one of the following:

 X I am a resident of the State of Minnesota, and agree to participate in the preparation and the
presentation of the case above and accept service of all papers served as required by LR 83.5(d)
(sign and complete information below).

    I am not a resident of the State of Minnesota and hereby move for permission to act as local
counsel under LR 83.5(d). I agree to participate in the preparation and the presentation of the
case listed above, and accept service of all papers served as required by LR 83.5(d) should my
motion for a non-resident to serve as local counsel be granted by the court (sign and complete
information below and attach a completed Motion for Permission for a Non-Resident to Serve as
Local Counsel).

                 s/ Michelle J. Looby
       Signature:______________________________                   7/20/2021
                                                            Date: ___________

                                0388166
       MN Attorney License #: _____________________




                                                1
        CASE 0:20-cv-01906-WMW-KMM Doc. 56 Filed 07/20/21 Page 2 of 2




                                Affidavit of Proposed Admittee


    Erin J. Ruben
I, __________________________,       am currently a member in good standing of the U.S. District
Court for the (please identify ONE specific district to which you are admitted)
    North Carolina
________________________________,         but am not admitted to the bar of this court. I
understand that if this Court grants me admission pro hac vice, the moving attorney identified in
this motion must participate in the preparation and presentation of the case listed above, and
must accept service of all papers served as required by LR 83.5(d). I further understand that the
District of Minnesota is an electronic court and that I will receive service as required by Fed. R.
Civ. P. 5(b) and 77(d) by electronic means and I understand that electronic notice will be in lieu
of service by mail.

           s/ Erin J. Ruben
Signature:______________________________                   7/20/2021
                                                    Date: ___________

              Erin J. Ruben
Typed Name: __________________________

                           39184
Attorney License Number:_____________________                         North Carolina
                                              issued by the State of _________________

Federal Bar Number (if you have one):
                Milberg Coleman Bryson Phillips Grossman PLLC
Law Firm Name: ________________________________
                   900 W. Morgan Street
Law Firm Address: _______________________________

                      Raleigh, NC 27603
                    _______________________________

                    _______________________________

             919 600-5000
Main phone: (___)____________________             Direct line: (___)____________________

                 ERUBEN@MILBERG.COM
E-mail address: ______________________________




                                                2
